                     Case 2:25-cv-03053             Document 1-10            Filed 04/07/25          Page 1 of 62 Page ID #:1956

                                                          EXHIBIT 10
                                               UNITED STATES PATENT NO. 11,805,267
                               CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

As demonstrated in the chart below, ASUS directly and indirectly infringes at least claim 19 of US 11,805,267 (the “’267 Patent”).
ASUS directly infringes, contributes to the infringement of, and/or induces infringement of the ’267 Patent by making, using, selling,
offering for sale, and/or importing into the United States the Accused Products that are covered by one or more claims of the ’267 Patent.
The Accused Products are devices that decode H.265-compliant video and/or encode video into an H.265-compliant format. For
example, ASUS Q543MV Notebook (“ASUS Q543MV”) is a representative product for other ASUS devices that decode H.265-
compliant video and/or encode video into an H.265-compliant format.

       The ASUS Q543MV contains at least one video decoder that helps decode H.265-compliant video. Additionally, the ASUS
Q543MV contains at least one video encoder that helps ecode video into an H.265-compliant video format. 1 While evidence from the
ASUS Q543MV is specifically charted herein, the evidence and contentions charted herein apply equally to the other ASUS Accused
Products that decode H.265-compliant video. On information and belief, the evidence and contentions charted herein apply equally to
the other ASUS Accused Products that encode video into an H.265-compliant format.

      No part of this exemplary chart construes, or is intended to construe, the specification, file history, or claims of the ’267 Patent.
Moreover, this exemplary chart does not limit, and is not intended to limit, Nokia’s infringement positions or contentions.

        The following infringement chart includes exemplary citations to ITU-T Rec. H.265 (12/2016) High efficiency video coding
(available at https://www.itu.int/rec/T-REC-H.265-201612-S/en) (the “H.265 Standard”). The cited functionality has been included in
editions of the H.265 Standard since April 2013 and remains in current editions of the H.265 Standard. Any ASUS device that includes
a decoder that practices the functionality in any of these editions of the H.265 Standard practices (“H.265 Decoder”) the claims of the
’267 Patent. Thus, the Accused Products each practice the H.265 Standard and are covered by claims of the ’267 Patent.

       Nokia contends each of the following limitations is met literally, and, to the extent a limitation is not met literally, it is met under
the doctrine of equivalents. 2



1
 See, e.g., https://www.asus.com/us/laptops/for-home/everyday-use/asus-vivobook-pro-15-oled-q543/techspec/;
https://www.intel.com/content/www/us/en/products/sku/236849/intel-core-ultra-9-processor-185h-24m-cache-up-to-5-10-ghz/specifications.html;
https://developer.nvidia.com/video-encode-and-decode-gpu-support-matrix-new.
2
 This claim chart is based on the information currently available to Nokia and is intended to be exemplary in nature. Nokia reserves all rights to update and
elaborate its infringement positions, including as Nokia obtains additional information during discovery.

                                                                                1
               Case 2:25-cv-03053      Document 1-10       Filed 04/07/25     Page 2 of 62 Page ID #:1957

                                                  EXHIBIT 10
                                       UNITED STATES PATENT NO. 11,805,267
                       CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                         ASUS ACCUSED PRODUCTS
19. [A] A method for        Each of the Accused Products, such as the ASUS Q543MV, performs a method for decoding a block of
decoding a block of pixels, pixels.
the method comprising:
                            For example, and without limitation, the Asus Q543MV uses hardware-accelerated decoding and includes
                            an NVIDIA GeForce RTX 4060 Laptop graphics processing unit (“GPU”) and an Intel Core Ultra 9
                            Processor 185H.




                             Source: https://www.asus.com/us/laptops/for-home/everyday-use/asus-vivobook-pro-15-oled-q543/techspec/
                             (last accessed March 6, 2025).




                                                             2
              Case 2:25-cv-03053       Document 1-10        Filed 04/07/25      Page 3 of 62 Page ID #:1958

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                          ASUS ACCUSED PRODUCTS
                             Source: https://www.intel.com/content/www/us/en/products/sku/236849/intel-core-ultra-9-processor-185h-
                             24m-cache-up-to-5-10-ghz/specifications.html (last accessed March 6, 2025)(specifications for Intel Core 9
                             Ultra 185H).




                             Source: https://developer.nvidia.com/video-encode-and-decode-gpu-support-matrix-new (last accessed March
                             6, 2025)(row for 4060 Laptop GPU).

                             For example, an ASUS Q543MV was used to play back an H.265-compliant video.




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                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                         ASUS ACCUSED PRODUCTS




                             Source: Screenshot of video playback on ASUS Q543MV.

                             For example, and without limitation, the H.265 Standard specifies the following regarding the decoding
                             process. Each of the Accused Products performs a method comprising the limitations below.




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                 Case 2:25-cv-03053         Document 1-10         Filed 04/07/25      Page 5 of 62 Page ID #:1960

                                                     EXHIBIT 10
                                          UNITED STATES PATENT NO. 11,805,267
                          CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                                ASUS ACCUSED PRODUCTS




                                  ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 4-7.

[B] determining, for a current    Each of the Accused Products, such as the ASUS Q543MV, performs a method for decoding video
block, a first reference block,   comprising determining, for a current block, a first reference block, a first reference block based on a first
a first reference block based     motion vector and a second reference block based on a second motion vector, wherein the pixels of the
on a first motion vector and a    current block, the first reference block, and the second reference block have values with a first precision.
second reference block based
on a second motion vector,        Each of the Accused Products performs a method for decoding video comprising determining, for a current
wherein the pixels of the         block, a first reference block, a first reference block based on a first motion vector and a second reference
current block, the first          block based on a second motion vector, wherein the pixels of the current block, the first reference block,
reference block, and the          and the second reference block have values with a first precision, corresponding to the decoding process
second reference block have       specified by the H.265 Standard. For example, as shown below a “bi-predictive (B) slice” is decoded using
values with a first precision;    intra or inter prediction with at most two motion vectors and reference indicies to predict the sample
                                  values of each block. The following specifications provide further evidence of how each of the Accused
                                  Products operates:




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              Case 2:25-cv-03053   Document 1-10   Filed 04/07/25   Page 6 of 62 Page ID #:1961

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                ASUS ACCUSED PRODUCTS




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              Case 2:25-cv-03053       Document 1-10      Filed 04/07/25     Page 7 of 62 Page ID #:1962

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 4-12.


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              Case 2:25-cv-03053       Document 1-10      Filed 04/07/25     Page 8 of 62 Page ID #:1963

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 18.




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 23.




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              Case 2:25-cv-03053       Document 1-10      Filed 04/07/25     Page 9 of 62 Page ID #:1964

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS

                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 30.




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 44.




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             Case 2:25-cv-03053       Document 1-10       Filed 04/07/25    Page 10 of 62 Page ID #:1965

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 52-53.




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             Case 2:25-cv-03053   Document 1-10   Filed 04/07/25   Page 11 of 62 Page ID #:1966

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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             Case 2:25-cv-03053       Document 1-10       Filed 04/07/25    Page 12 of 62 Page ID #:1967

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS
                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 55.




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 95.




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             Case 2:25-cv-03053   Document 1-10   Filed 04/07/25   Page 13 of 62 Page ID #:1968

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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             Case 2:25-cv-03053   Document 1-10   Filed 04/07/25   Page 14 of 62 Page ID #:1969

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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             Case 2:25-cv-03053       Document 1-10       Filed 04/07/25    Page 15 of 62 Page ID #:1970

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS
                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 106-108.




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 21.




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             Case 2:25-cv-03053       Document 1-10       Filed 04/07/25    Page 16 of 62 Page ID #:1971

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 34.




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             Case 2:25-cv-03053       Document 1-10       Filed 04/07/25    Page 17 of 62 Page ID #:1972

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 76.




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             Case 2:25-cv-03053   Document 1-10   Filed 04/07/25   Page 18 of 62 Page ID #:1973

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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             Case 2:25-cv-03053       Document 1-10      Filed 04/07/25     Page 19 of 62 Page ID #:1974

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 144-45.




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 144-45.




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             Case 2:25-cv-03053   Document 1-10   Filed 04/07/25   Page 20 of 62 Page ID #:1975

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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             Case 2:25-cv-03053       Document 1-10      Filed 04/07/25     Page 21 of 62 Page ID #:1976

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 145-46.




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             Case 2:25-cv-03053       Document 1-10      Filed 04/07/25     Page 22 of 62 Page ID #:1977

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 161-62.




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             Case 2:25-cv-03053   Document 1-10   Filed 04/07/25   Page 23 of 62 Page ID #:1978

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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                Case 2:25-cv-03053         Document 1-10        Filed 04/07/25      Page 24 of 62 Page ID #:1979

                                                     EXHIBIT 10
                                          UNITED STATES PATENT NO. 11,805,267
                          CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                               ASUS ACCUSED PRODUCTS




                                 ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 163.

[C] using said first reference   Each of the Accused Products, such as the ASUS Q543MV, performs a method for decoding video
block to obtain a first          comprising using said first reference block to obtain a first prediction, said first prediction having a second
prediction, said first           precision, which is higher than said first precision.
prediction having a second
precision, which is higher       Each of the Accused Products performs a method for decoding video comprising using said first reference
than said first precision;       block to obtain a first prediction (for example, through the processes for obtaining predSamplesLXL,
                                 predSamplesLXC shown below), said first prediction having a second precision, which is higher than said
                                 first precision. The following specifications provide further evidence of how each of the Accused Products
                                 operates:




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                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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             Case 2:25-cv-03053       Document 1-10      Filed 04/07/25     Page 26 of 62 Page ID #:1981

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 161-62.




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             Case 2:25-cv-03053   Document 1-10   Filed 04/07/25   Page 27 of 62 Page ID #:1982

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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             Case 2:25-cv-03053       Document 1-10       Filed 04/07/25    Page 28 of 62 Page ID #:1983

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 163.




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             Case 2:25-cv-03053   Document 1-10   Filed 04/07/25   Page 29 of 62 Page ID #:1984

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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             Case 2:25-cv-03053   Document 1-10   Filed 04/07/25   Page 30 of 62 Page ID #:1985

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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             Case 2:25-cv-03053       Document 1-10      Filed 04/07/25     Page 31 of 62 Page ID #:1986

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 164-65.




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             Case 2:25-cv-03053   Document 1-10   Filed 04/07/25   Page 32 of 62 Page ID #:1987

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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             Case 2:25-cv-03053   Document 1-10   Filed 04/07/25   Page 33 of 62 Page ID #:1988

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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             Case 2:25-cv-03053   Document 1-10   Filed 04/07/25   Page 34 of 62 Page ID #:1989

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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               Case 2:25-cv-03053       Document 1-10        Filed 04/07/25     Page 35 of 62 Page ID #:1990

                                                   EXHIBIT 10
                                        UNITED STATES PATENT NO. 11,805,267
                        CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                            ASUS ACCUSED PRODUCTS




                               ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 165-67.

[D] using said second          Each of the Accused Products, such as the ASUS Q543MV, performs a method for decoding video
reference block to obtain a    comprising, using said second reference block to obtain a second prediction, said second prediction having
second prediction, said        the second precision.
second prediction having the
second precision;              Each of the Accused Products performs a method for decoding video comprising, using said second
                               reference block to obtain a second prediction (for example, through the processes for obtaining
                               predSamplesLXL, predSamplesLXC shown below), said second prediction having the second precision,
                               corresponding to the decoding process specified by the H.265 Standard. The following specifications
                               provide further evidence of how each of the Accused Products operates:



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                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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             Case 2:25-cv-03053       Document 1-10      Filed 04/07/25     Page 37 of 62 Page ID #:1992

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 161-62.




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                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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             Case 2:25-cv-03053       Document 1-10       Filed 04/07/25    Page 39 of 62 Page ID #:1994

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 163.




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                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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             Case 2:25-cv-03053   Document 1-10   Filed 04/07/25   Page 41 of 62 Page ID #:1996

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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             Case 2:25-cv-03053       Document 1-10      Filed 04/07/25     Page 42 of 62 Page ID #:1997

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 164-65.




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                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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             Case 2:25-cv-03053   Document 1-10   Filed 04/07/25   Page 44 of 62 Page ID #:1999

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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             Case 2:25-cv-03053   Document 1-10   Filed 04/07/25   Page 45 of 62 Page ID #:2000

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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               Case 2:25-cv-03053     Document 1-10        Filed 04/07/25     Page 46 of 62 Page ID #:2001

                                                   EXHIBIT 10
                                        UNITED STATES PATENT NO. 11,805,267
                        CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                          ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 165-67.

[E] obtaining a combined     Each of the Accused Products, such as the ASUS Q543MV, performs a method for decoding video
prediction based at least    comprising obtaining a combined prediction based at least partly upon said first prediction and said second
partly upon said first       prediction.
prediction and said second
prediction;                  For example, and without limitation, each of the Accused Products performs a method for decoding video
                             comprising obtaining a combined prediction based at least partly upon said first prediction and said second
                             prediction, corresponding to the decoding process specified by the H.265 Standard. The following
                             specifications provide further evidence of how each of the Accused Products operates:




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                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 167-68.
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             Case 2:25-cv-03053       Document 1-10       Filed 04/07/25    Page 48 of 62 Page ID #:2003

                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 168.




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                                                   EXHIBIT 10
                                        UNITED STATES PATENT NO. 11,805,267
                        CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                           ASUS ACCUSED PRODUCTS
[F] decreasing a precision of Each of the Accused Products, such as the ASUS Q543MV, performs a method for decoding video
said combined prediction by comprising decreasing a precision of said combined prediction by shifting bits of the combined prediction
shifting bits of the combined to the right.
prediction to the right; and
                              For example, and without limitation, of the Accused Products performs a method for decreasing a
                              precision of said combined prediction by shifting bits of the combined prediction to the right. The
                              following specifications provide further evidence of how each of the Accused Products operates:




                              ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 16.




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                                                   EXHIBIT 10
                                        UNITED STATES PATENT NO. 11,805,267
                        CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                          ASUS ACCUSED PRODUCTS




                               ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 168.

[G] reconstructing the block   Each of the Accused Products, such as the ASUS Q543MV, performs a method for decoding video
of pixels based on the         comprising reconstructing the block of pixels based on the combined precision.
combined precision.
                                                              50
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                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                         ASUS ACCUSED PRODUCTS
                             For example, of the Accused Products performs a method for decoding video comprising reconstructing the
                             block of pixels based on the combined precision, corresponding to the decoding process specified by the
                             H.265 Standard. The following specifications provide further evidence of how each of the Accused Products
                             operates:




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                                  EXHIBIT 10
                       UNITED STATES PATENT NO. 11,805,267
       CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS




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                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 141-42.




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                                  EXHIBIT 10
                       UNITED STATES PATENT NO. 11,805,267
       CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS




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                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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                                  EXHIBIT 10
                       UNITED STATES PATENT NO. 11,805,267
       CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS




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                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                       ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 142-44




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                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                               ASUS ACCUSED PRODUCTS




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                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 161-62.




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                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                        ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 168.




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                                                EXHIBIT 10
                                     UNITED STATES PATENT NO. 11,805,267
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                       ASUS ACCUSED PRODUCTS




                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 180.




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